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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                  District of Maryland

 Case number (If known):                           Chapter you are filing under:
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ✔
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Donna                                                           Michael
       Write the name that is on your         First name                                                      First name
       government-issued picture               Johnson                                                         Kent
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Williams                                                        Williams
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 8           8    0    7                              xxx - xx - 5           6    3     6
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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 Debtor 1            Donna                Johnson                     Williams
 Debtor 2            Michael              Kent                        Williams                                       Case number (if known)
                     First Name           Middle Name                 Last Name


                                           About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                       -                                                               -
       Number (EIN), if any.               EIN                                                             EIN


                                                       -                                                               -
                                           EIN                                                             EIN




                                                                                                           If Debtor 2 lives at a different address:
  5.   Where you live
                                           1522 Lochwood Road
                                           Number            Street                                        Number           Street




                                           Baltimore, MD 21218
                                           City                                   State    ZIP Code        City                                  State     ZIP Code

                                           Baltimore City
                                           County                                                          County

                                           If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                           fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                           you at this mailing address.                                    at this mailing address.


                                           Number            Street                                        Number           Street



                                           P.O. Box                                                        P.O. Box



                                           City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this           Check one:                                                      Check one:
       district to file for bankruptcy
                                           ✔ Over the last 180 days before filing this petition, I
                                           ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                           ❑
                                                  have lived in this district longer than in any other            have lived in this district longer than in any other
                                                  district.                                                       district.

                                           ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                  (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Donna               Johnson                 Williams
 Debtor 2           Michael             Kent                    Williams                                       Case number (if known)
                    First Name          Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file    Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                            ❑     Chapter 7
                                        ❑     Chapter 11
                                        ❑     Chapter 12
                                        ✔
                                        ❑     Chapter 13



  8.   How you will pay the fee         ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                        ❑
                                            details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                            check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                            a credit card or check with a pre-printed address.

                                        ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                            to Pay The Filing Fee in Installments (Official Form 103A).

                                        ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                            judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                            official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                            choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                            103B) and file it with your petition.




  9.   Have you filed for bankruptcy    ✔ No.
                                        ❑
                                        ❑ Yes. District
       within the last 8 years?
                                                                                                 When                       Case number
                                                                                                        MM / DD / YYYY

                                                 District                                        When                       Case number
                                                                                                        MM / DD / YYYY

                                                 District                                        When                       Case number
                                                                                                        MM / DD / YYYY




  10. Are any bankruptcy cases          ✔ No.
                                        ❑
                                        ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                     Relationship to you
       case with you, or by a
       business partner, or by an                District                                      When                      Case number, if known
       affiliate?                                                                                     MM / DD / YYYY


                                                 Debtor                                                                  Relationship to you

                                                 District                                      When                      Case number, if known
                                                                                                      MM / DD / YYYY




  11. Do you rent your residence?       ✔ No. Go to line 12.
                                        ❑
                                        ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                  ❑ No. Go to line 12.
                                                  ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                        as part of this bankruptcy petition.




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Donna                   Johnson                 Williams
 Debtor 2           Michael                 Kent                    Williams                                       Case number (if known)
                    First Name              Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of          ✔ No. Go to Part 4.
                                            ❑
                                            ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an                Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.         Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                                City                                                State            ZIP Code

                                                Check the appropriate box to describe your business:

                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ None of the above

  13. Are you filing under Chapter          If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,            appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business          sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business    ✔ No.
                                            ❑             I am not filing under Chapter 11.

                                            ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                           I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                            ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                            ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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 Debtor 1           Donna                Johnson                 Williams
 Debtor 2           Michael              Kent                    Williams                                     Case number (if known)
                    First Name           Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any             ✔ No.
                                         ❑
                                         ❑ Yes.
      property that poses or is
      alleged to pose a threat of                  What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                   If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                   Where is the property?
                                                                               Number        Street




                                                                               City                                          State     ZIP Code




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Donna                Johnson                 Williams
 Debtor 2           Michael              Kent                    Williams                                      Case number (if known)
                    First Name           Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me                                     deficiency that makes me
                                                                incapable of realizing or making                             incapable of realizing or making
                                                                rational decisions about finances.                           rational decisions about finances.
                                            ❑ Disability.       My physical disability causes me           ❑ Disability.     My physical disability causes me
                                                                to be unable to participate in a                             to be unable to participate in a
                                                                briefing in person, by phone, or                             briefing in person, by phone, or
                                                                through the internet, even after I                           through the internet, even after I
                                                                reasonably tried to do so.                                   reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                                duty in a military combat zone.                              duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 6
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 Debtor 1           Donna                 Johnson                  Williams
 Debtor 2           Michael               Kent                     Williams                                         Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ✔
                                             ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ✔ $100,001-$500,000
                                              ❑                                    ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Donna Johnson Williams                                    ✘ /s/ Michael Kent Williams
                                       Donna Johnson Williams, Debtor 1                                Michael Kent Williams, Debtor 2
                                       Executed on 07/11/2024                                          Executed on 07/11/2024
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Donna                   Johnson                 Williams
 Debtor 2           Michael                 Kent                    Williams                                       Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Brett Weiss                                                      Date 07/11/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                   Brett Weiss
                                                  Printed name

                                                   The Weiss Law Group
                                                  Firm name

                                                   8843 Greenbelt Road 299
                                                  Number           Street




                                                   Greenbelt                                                       MD       20770
                                                  City                                                             State   ZIP Code




                                                  Contact phone (301) 924-4400                       Email address brett@BankruptcyLawMaryland.com


                                                   02980                                                           MD
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Donna                        Johnson                      Williams
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Michael                      Kent                         Williams
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the: District of                  Maryland

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      1522 Lochwood Road                               ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ✔ Duplex or multi-unit building
                                                                  ❑                                                                     Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property                                                            $196,000.00                 $196,000.00
                 Baltimore, MD 21218                              ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other
                City               State         ZIP Code
                                                                                                                                       (such as fee simple, tenancy by the entireties, or
                 Baltimore City                                   Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ❑ Debtor 1 only                                                       Tenancy by the Entireties
                                                                  ❑ Debtor 2 only
                                                                  ✔ Debtor 1 and Debtor 2 only
                                                                  ❑                                                                    ❑ Check if this is community property
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: zillow.com



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $196,000.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑


Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
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Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                      Case number (if known)



       3.1     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                          Escape            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ✔ Debtor 1 and Debtor 2 only
                                                                 ❑                                                                    Current value of the            Current value of the
               Year:                           2011              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            164818            ❑ Check if this is community property (see                                              $500.00                   $500.00
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                                   $500.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Household goods and furnishings, appliances, furniture, linens, china,                                                                $1,500.00
                                            kitchenware, etc.

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Televisions and radios; audio, video, stereo, and digital equipment;
                                            computers, printers, scanners; music collections; electronic devices                                                                    $300.00
                                            including cell phones, cameras, media players, games, etc.




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
                                              Case 24-15852                           Doc 1             Filed 07/11/24                        Page 11 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                                 Case number (if known)



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or
                                               other art objects; stamp, coin, or baseball card collections; other collections,                                                        $0.00
                                               memorabilia, collectibles, etc.

 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Sports, photographic, exercise, and other hobby equipment; bicycles, pool                                                              $10.00
                                               tables, golf clubs, skis; canoes and kayaks; tools; musical instruments

 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                             $300.00
                                               3 Rifles


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Clothing and wearing apparel, outerwear, furs, leather coats, designer wear,                                                          $200.00
                                               shoes, accessories

 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Costume jewelry, rings, necklaces, earrings, bracelets, brooches, watches,
                                               gemstones, gold, silver flatware                                                                                                    $1,000.00

                                               Sterling Silver Flatware

 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ❑ No
       ✔ Yes. Give specific
       ❑                                                                                                                                                                               $5.00
            information. .............
                                               Prescribed Health Aids




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                  $3,315.00



Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 3
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Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                                            Case number (if known)




  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................                   $35.75


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               Bank of America
                                             17.1. Checking account:                           Account Number: XXX3662                                                                                          $197.77

                                                                                               M&T Bank
                                             17.2. Checking account:                           Account Number: XXX9159                                                                                          $846.84

                                                                                               Truist Bank; Treasurer for § 501(c)(3) entity. Debtor 1's
                                                                                               name is on account with signature authority, but has
                                                                                               no personal funds in account. The Debtor also
                                                                                               maintains some of the organization's records at her
                                             17.3. Checking account:                           residence.                                                                                                     unknown

                                                                                               First Financial FCU
                                             17.4. Savings account:                            Account Number: XXX5630                                                                                          $154.68


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
                                         Case 24-15852                   Doc 1      Filed 07/11/24        Page 13 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                              Case number (if known)



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:               Institution name:

                                      IRA:                     M&T Bank, xxx9159                                                      $266.17


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                      Schedule A/B: Property                                       page 5
                                        Case 24-15852                 Doc 1        Filed 07/11/24              Page 14 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                    Case number (if known)



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement




Official Form 106A/B                                                     Schedule A/B: Property                                                           page 6
                                     Case 24-15852                  Doc 1        Filed 07/11/24               Page 15 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                   Case number (if known)



       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑
                of each policy and list its value. ...    Company name:                            Beneficiary:                           Surrender or refund value:

                                                           New York Life
                                                           Policy xxx7740                           Michael Williams (spouse)                             unknown

                                                           Prudential Life                          Donna Williams (Spouse)                              $7,092.00

                                                           Transamerica Life
                                                           Policy xxx0763                           Michael Williams (spouse)                             unknown

                                                           Transamerica Life
                                                           Policy xxx0770                           Donna Williams (Spouse)                               unknown

                                                           Transamerica Life
                                                           Policy xxx3746                           Michael Williams (spouse)                             unknown

                                                           United of Omaha Life
                                                           Insurance
                                                           Policy xxx4676                           Michael Williams (spouse)                             unknown


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ❑ No
       ✔ Yes. Describe each claim. ..............
       ❑                                                 Potential Class Action regarding MedStar Health, Inc. Retirement                                 unknown
                                                         Savings Plan



Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 7
                                              Case 24-15852                           Doc 1             Filed 07/11/24                        Page 16 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                                 Case number (if known)



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ❑ No
       ✔ Yes. Give specific information. ........
       ❑                                                                                                                                                                                          $50.00
                                                                  Gift Cards




                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                             $8,643.21



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 8
                                              Case 24-15852                           Doc 1             Filed 07/11/24                        Page 17 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                                 Case number (if known)



 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                 $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
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Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                                     Case number (if known)



 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                             $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔            $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔   $196,000.00


 56.   Part 2: Total vehicles, line 5                                                                                   $500.00

 57.   Part 3: Total personal and household items, line 15                                                           $3,315.00


Official Form 106A/B                                                                         Schedule A/B: Property                                                                          page 10
                                          Case 24-15852                        Doc 1            Filed 07/11/24                    Page 19 of 48
Debtor Williams, Donna Johnson; Williams, Michael Kent                                                                     Case number (if known)



 58.   Part 4: Total financial assets, line 36                                                          $8,643.21

 59.   Part 5: Total business-related property, line 45                                                        $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                               $0.00

 61.   Part 7: Total other property not listed, line 54                                 +                      $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                               $12,458.21          Copy personal property total         ➔   +    $12,458.21



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................           $208,458.21




Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 11
                                      Case 24-15852                Doc 1         Filed 07/11/24              Page 20 of 48
 Fill in this information to identify your case:

  Debtor 1            Donna                   Johnson               Williams
                      First Name             Middle Name           Last Name

  Debtor 2            Michael                 Kent                  Williams
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the: District of       Maryland

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and         Current value of the      Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this          portion you own
       property                                                                Check only one box for each exemption.
                                                     Copy the value from
                                                     Schedule A/B

       Brief             2011 Ford Escape                      $500.00         ✔ Debtor 1: $250.00 (50.00%)
                                                                               ❑                                             Md. Code Ann., Cts. & Jud.
       description:                                                                 Debtor 2: $250.00 (50.00%)               Proc. § 11-504(f)(1)(i)(1)
       Line from                                                                          Total: $500.00
                            3.1
       Schedule A/B:
                                                                               ❑ 100% of fair market value, up to
                                                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              page 1 of 5
                                  Case 24-15852             Doc 1      Filed 07/11/24              Page 21 of 48
Debtor 1            Donna             Johnson             Williams                       Case number (if known)
Debtor 2            Michael           Kent                Williams
                First Name           Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              Household goods               $1,500.00
     description:       and furnishings,
                        appliances,
                        furniture, linens,                            ✔ Debtor 1: $750.00 (50.00%)
                                                                      ❑                                           Md. Code Ann., Cts. & Jud.
                        china, kitchenware,                                Debtor 2: $750.00 (50.00%)             Proc. § 11-504(b)(4)
                        etc.                                                    Total: $1,500.00
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:            6                                           any applicable statutory limit

     Brief              Televisions and                 $300.00
     description:       radios; audio,
                        video, stereo, and
                        digital equipment;
                        computers,
                        printers, scanners;
                        music collections;
                        electronic devices
                        including cell
                        phones, cameras,                              ✔ Debtor 1: $150.00 (50.00%)
                                                                      ❑                                           Md. Code Ann., Cts. & Jud.
                        media players,
                                                                           Debtor 2: $150.00 (50.00%)             Proc. § 11-504(b)(4)
                        games, etc.
                                                                                 Total: $300.00
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:            7                                           any applicable statutory limit

     Brief              Sports,                           $10.00
     description:       photographic,
                        exercise, and other
                        hobby equipment;
                        bicycles, pool
                        tables, golf clubs,
                        skis; canoes and
                        kayaks; tools;                                ✔ Debtor 1: $5.00 (50.00%)
                                                                      ❑                                           Md. Code Ann., Cts. & Jud.
                        musical                                            Debtor 2: $5.00 (50.00%)               Proc. § 11-504(b)(4)
                        instruments                                             Total: $10.00
     Line from                                                        ❑ 100% of fair market value, up to
     Schedule A/B:            9                                           any applicable statutory limit




Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                        page 2 of 5
                                    Case 24-15852               Doc 1      Filed 07/11/24              Page 22 of 48
Debtor 1            Donna                  Johnson             Williams                      Case number (if known)
Debtor 2            Michael                Kent                Williams
                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              3 Rifles                             $300.00      ✔ Debtor 1: $150.00 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:                                                              Debtor 2: $150.00 (50.00%)             Proc. § 11-504(f)(1)(i)(1)
     Line from                                                                       Total: $300.00
                            10
     Schedule A/B:
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit

     Brief              Costume jewelry,                     $400.00
     description:       rings, necklaces,
                        earrings, bracelets,
                        brooches,
                        watches,                                          ✔ Debtor 1: $200.00 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
                        gemstones, gold,
                                                                               Debtor 2: $200.00 (50.00%)             Proc. § 11-504(f)(1)(i)(1)
                        silver flatware
                                                                                     Total: $400.00
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          12                                                any applicable statutory limit

     Brief              Cash on hand                          $35.75      ✔ Debtor 1: $17.88 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:                                                              Debtor 2: $17.88 (50.00%)              Proc. § 11-504(f)(1)(i)(1)
     Line from                                                                       Total: $35.75
                            16
     Schedule A/B:
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit

     Brief              M&T Bank                             $846.84      ✔ Debtor 1: $423.42 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:       Checking account
                                                                               Debtor 2: $423.42 (50.00%)             Proc. § 11-504(f)(1)(i)(1)
                        Acct. No.: XXX9159
                                                                                     Total: $846.84
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief              Bank of America                      $197.77      ✔ Debtor 1: $98.88 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:       Checking account
                                                                               Debtor 2: $98.88 (50.00%)              Proc. § 11-504(f)(1)(i)(1)
                        Acct. No.: XXX3662
                                                                                    Total: $197.77
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief              First Financial FCU                  $154.68      ✔ Debtor 1: $77.34 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:       Savings account
                                                                               Debtor 2: $77.34 (50.00%)              Proc. § 11-504(f)(1)(i)(1)
                        Acct. No.: XXX5630
                                                                                    Total: $154.68
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 3 of 5
                                    Case 24-15852               Doc 1      Filed 07/11/24              Page 23 of 48
Debtor 1            Donna                  Johnson            Williams                       Case number (if known)
Debtor 2            Michael                Kent               Williams
                First Name             Middle Name            Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              Truist Bank;                      unknown
     description:       Treasurer for §
                        501(c)(3) entity.
                        Debtor 1's name is
                        on account with
                        signature
                        authority, but has
                        no personal funds
                        in account. The
                        Debtor also
                        maintains some of
                        the organization's
                        records at her
                        residence.
                        Checking account                                  ✔
                                                                          ❑        unknown                            Md. Code Ann., Cts. & Jud.
     Line from                                                            ❑ 100% of fair market value, up to          Proc. § 11-504(f)(1)(i)(1)
     Schedule A/B:          17                                                any applicable statutory limit

     Brief              M&T Bank,                           $266.17       ✔ Debtor 1: $133.08 (50.00%)
                                                                          ❑                                           Md. Code Ann., Cts. & Jud.
     description:       xxx9159                                                Debtor 2: $133.08 (50.00%)             Proc. § 11-504(h)
                                                                                     Total: $266.17
     Line from
     Schedule A/B:          21                                            ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit

     Brief              United of Omaha                   unknown
     description:       Life Insurance
                        Policy xxx4676                                    ✔
                                                                          ❑        unknown                            Md. Code Ann., Ins. § 16-111(a),
     Line from                                                            ❑ 100% of fair market value, up to          Est. & Trust §8-115
     Schedule A/B:          31                                                any applicable statutory limit

     Brief              New York Life                     unknown
                                                                          ✔
     description:       Policy xxx7740                                    ❑        unknown                            Md. Code Ann., Ins. § 16-111(a),
     Line from                                                            ❑ 100% of fair market value, up to          Est. & Trust §8-115
     Schedule A/B:          31                                                any applicable statutory limit

     Brief              Prudential Life                   $7,092.00       ✔
                                                                          ❑      Debtor 1: $0.00 (0.00%)              Md. Code Ann., Ins. § 16-111(a),
     description:                                                              Debtor 2: $7,092.00 (100.00%)          Est. & Trust §8-115
     Line from                                                                       Total: $7,092.00
                            31
     Schedule A/B:
                                                                          ❑ 100% of fair market value, up to
                                                                              any applicable statutory limit

     Brief              Transamerica Life                 unknown
                                                                          ✔
     description:       Policy xxx0763                                    ❑        unknown                            Md. Code Ann., Ins. § 16-111(a),
     Line from                                                            ❑ 100% of fair market value, up to          Est. & Trust §8-115
     Schedule A/B:          31                                                any applicable statutory limit

     Brief              Transamerica Life                 unknown
     description:       Policy xxx3746                                    ✔
                                                                          ❑        unknown                            Md. Code Ann., Ins. § 16-111(a),
     Line from                                                            ❑ 100% of fair market value, up to          Est. & Trust §8-115
     Schedule A/B:          31                                                any applicable statutory limit



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                        page 4 of 5
                                     Case 24-15852          Doc 1      Filed 07/11/24              Page 24 of 48
Debtor 1            Donna              Johnson             Williams                      Case number (if known)
Debtor 2            Michael            Kent                Williams
                First Name            Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and    Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this     portion you own
     property                                                         Check only one box for each exemption.
                                              Copy the value from
                                              Schedule A/B

     Brief              Transamerica Life              unknown
                                                                      ✔
     description:       Policy xxx0770                                ❑        unknown                            Md. Code Ann., Ins. § 16-111(a),
     Line from                                                        ❑ 100% of fair market value, up to          Est. & Trust §8-115
     Schedule A/B:          31                                            any applicable statutory limit

     Brief              Potential Class                unknown
     description:       Action regarding
                        MedStar Health,
                        Inc. Retirement
                        Savings Plan                                  ✔
                                                                      ❑        unknown                            Md. Code Ann., Cts. & Jud.
     Line from                                                        ❑ 100% of fair market value, up to          Proc. § 11-504(h)
     Schedule A/B:          33                                            any applicable statutory limit

     Brief              Gift Cards                        $50.00      ✔ Debtor 1: $25.00 (50.00%)
                                                                      ❑                                           Md. Code Ann., Cts. & Jud.
     description:                                                          Debtor 2: $25.00 (50.00%)              Proc. § 11-504(f)(1)(i)(1)
     Line from                                                                   Total: $50.00
                            35
     Schedule A/B:
                                                                      ❑ 100% of fair market value, up to
                                                                          any applicable statutory limit




Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                       page 5 of 5
                                       Case 24-15852                 Doc 1         Filed 07/11/24                Page 25 of 48
 Fill in this information to identify your case:

     Debtor 1           Donna                 Johnson                 Williams
                        First Name            Middle Name            Last Name

     Debtor 2           Michael               Kent                    Williams
     (Spouse, if filing) First Name           Middle Name            Last Name

     United States Bankruptcy Court for the: District of      Maryland

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 MGC Mortgage, Inc.                            Describe the property that secures the claim:                   $42,257.00            $196,000.00              $0.00
         Creditor’s Name
                                                       1522 Lochwood Road Baltimore, MD 21218
          7195 Dallas Parkway
         Number          Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
          Plano, TX 75024                              ❑ Unliquidated
         City               State       ZIP Code       ✔ Disputed
                                                       ❑
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ❑ Debtor 1 only                               ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ✔ Debtor 1 and Debtor 2 only
         ❑                                             ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number         2    4       9   5

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $42,257.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
                                       Case 24-15852                 Doc 1         Filed 07/11/24              Page 26 of 48
 Fill in this information to identify your case:

  Debtor 1            Donna                   Johnson                 Williams
                     First Name              Middle Name              Last Name

  Debtor 2            Michael                 Kent                    Williams
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the: District of         Maryland

  Case number
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                   amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Amazon/Chase                                                       Last 4 digits of account number           0    9    9    3                            $1,440.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
         410 Terry Avenue N
         Number              Street
                                                                         As of the date you file, the claim is: Check all that apply.
                                                                         ❑ Contingent
         Seattle, WA 98109-0000
                                                                         ❑ Unliquidated
         City                      State                   ZIP Code      ✔ Disputed
                                                                         ❑
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
                                                                         Type of NONPRIORITY unsecured claim:
         ❑
         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 9
                                    Case 24-15852                Doc 1     Filed 07/11/24              Page 27 of 48
Debtor 1        Donna                   Johnson              Williams                         Case number (if known)
Debtor 2        Michael                 Kent                 Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.2 American Express                                            Last 4 digits of account number         3    0   0    7                         $18,518.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      Post Office 981535
      Number             Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      El Paso, TX 79998
                                                                  ❑ Unliquidated
      City                    State                   ZIP Code    ✔ Disputed
                                                                  ❑
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                             ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                           ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Credit Card
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.3 BGE                                                         Last 4 digits of account number         2    0   0    0                          $2,790.76
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      PO Box 1475
      Number             Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      Baltimore, MD 21203-0000
                                                                  ❑ Unliquidated
      City                    State                   ZIP Code
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                             ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                           ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Utility
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2 of 9
                                    Case 24-15852            Doc 1        Filed 07/11/24              Page 28 of 48
Debtor 1        Donna                   Johnson             Williams                        Case number (if known)
Debtor 2        Michael                 Kent                Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.4 CAPITAL ONE                                                Last 4 digits of account number         2    4   7    3                         $2,949.55
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box BOX 30285
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Salt Lake City, UT 84130-0285
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.5 Capital One/Walmart                                        Last 4 digits of account number         7    6   9    2                         $7,800.82
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 30285
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Salt Lake City, UT 84130
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 9
                                    Case 24-15852            Doc 1        Filed 07/11/24              Page 29 of 48
Debtor 1        Donna                   Johnson             Williams                        Case number (if known)
Debtor 2        Michael                 Kent                Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.6 Citibank Preferred Master Card                             Last 4 digits of account number         4    5   6    4                         $1,041.67
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 6204
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Sioux Falls, SD 57117-0000
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 Costco                                                     Last 4 digits of account number         6    2   9    6                         $3,880.91
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 790046
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Saint Louis, MO 63179-0046
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 9
                                    Case 24-15852            Doc 1        Filed 07/11/24              Page 30 of 48
Debtor 1        Donna                   Johnson             Williams                        Case number (if known)
Debtor 2        Michael                 Kent                Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 Exxon-Mobil                                                Last 4 digits of account number         0    6   8    3                           $761.53
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 7032
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Sioux Falls, SD 57117
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
                                                                 Type of NONPRIORITY unsecured claim:
      ❑
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 Mayor And City Council Of Baltimore                        Last 4 digits of account number         1    8   5    1                         $1,706.67
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       Bureau Of Revenue Collections
       200 Holliday St
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Baltimore, MD 21202-3618
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
                                                                 ❑ Student loans
      ❑ Debtor 2 only
      ✔ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑                                                             priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Utility
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 9
                                    Case 24-15852            Doc 1        Filed 07/11/24              Page 31 of 48
Debtor 1        Donna                   Johnson             Williams                        Case number (if known)
Debtor 2        Michael                 Kent                Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.10 MedStar Health                                             Last 4 digits of account number         0    2   5    5                         unknown
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       8013 Corporate Drive
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Nottingham, MD 21236
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Medical Bill
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.11 Synchrony Bank/Lowe's                                      Last 4 digits of account number         8    9   7    5                         $1,971.61
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 965005
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Orlando, FL 32896-0000
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 9
                                    Case 24-15852            Doc 1        Filed 07/11/24              Page 32 of 48
Debtor 1        Donna                   Johnson             Williams                        Case number (if known)
Debtor 2        Michael                 Kent                Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.12 Synchrony Bank/Sam's Club                                  Last 4 digits of account number                                                 $8,847.63
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       PO Box 530942
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Atlanta, GA 30353-0000                                    ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only                                            ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                             priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.13 Truist Bank                                                Last 4 digits of account number         2    3   7    9                           $954.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       214 N. Tryon Street
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
       Charlotte, NC 28202-0000
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code   ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 9
                                    Case 24-15852                Doc 1     Filed 07/11/24              Page 33 of 48
Debtor 1        Donna                   Johnson              Williams                         Case number (if known)
Debtor 2        Michael                 Kent                 Williams
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
4.14 Upgrade                                                      Last 4 digits of account number         7    5   3    7                         $12,584.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?
      2 N. Central Avenue Floor 10
      Number             Street
                                                                  As of the date you file, the claim is: Check all that apply.
                                                                  ❑ Contingent
      Phoenix, AZ 85004
                                                                  ❑ Unliquidated
      City                    State                   ZIP Code    ✔ Disputed
                                                                  ❑
      Who incurred the debt? Check one.
                                                                  Type of NONPRIORITY unsecured claim:
      ❑ Debtor 1 only
      ✔ Debtor 2 only
      ❑                                                           ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Personal Loan
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                           page 8 of 9
                                    Case 24-15852                Doc 1        Filed 07/11/24          Page 34 of 48
Debtor 1          Donna                  Johnson                Williams                     Case number (if known)
Debtor 2          Michael                Kent                   Williams
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                          $0.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                  $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $65,247.15
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $65,247.15




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 9 of 9
                                                  Case 24-15852          Doc 1       Filed 07/11/24           Page 35 of 48

 Fill in this information to identify your case:

     Debtor 1                       Donna                Johnson         Williams
                                    First Name           Middle Name     Last Name

     Debtor 2                       Michael              Kent            Williams
     (Spouse, if filing)            First Name           Middle Name     Last Name

     United States Bankruptcy Court for the:                           District of Maryland

     Case number                                                                                                                        ❑ Check if this is an
     (if known)                                                                                                                             amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                             State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of 1
                                      Case 24-15852              Doc 1        Filed 07/11/24              Page 36 of 48
 Fill in this information to identify your case:

  Debtor 1           Donna                    Johnson             Williams
                     First Name              Middle Name         Last Name

  Debtor 2           Michael                  Kent                Williams
  (Spouse, if filing) First Name             Middle Name         Last Name

  United States Bankruptcy Court for the: District of      Maryland

  Case number
  (if known)                                                                                                                           ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                   . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                     ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                      Column 2: The creditor to whom you owe the debt

                                                                                                     Check all schedules that apply:
 3.1
        Name                                                                                         ❑ Schedule D, line
                                                                                                     ❑ Schedule E/F, line
        Number                          Street
                                                                                                     ❑ Schedule G, line
        City                                       State                                ZIP Code

 3.2
        Name                                                                                         ❑ Schedule D, line
                                                                                                     ❑ Schedule E/F, line
        Number                          Street
                                                                                                     ❑ Schedule G, line
        City                                       State                                ZIP Code




Official Form 106H                                                   Schedule H: Codebtors                                                           page 1 of 1
                                         Case 24-15852              Doc 1       Filed 07/11/24              Page 37 of 48

 Fill in this information to identify your case:

  Debtor 1                  Donna                  Johnson          Williams
                           First Name              Middle Name      Last Name

  Debtor 2                  Michael                Kent             Williams
  (Spouse, if filing)      First Name              Middle Name      Last Name                                            Check if this is:

                                                                  District of Maryland
                                                                                                                         ❑ An amended filing
                                                                                                                         ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                               chapter 13 income as of the following date:
  (if known)

                                                                                                                            MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                            Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                     ✔ Not Employed
                                                                        ❑ Employed ❑                                                 ✔ Not Employed
                                                                                                                          ❑ Employed ❑
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                      Number Street                                     Number Street
     or homemaker, if it applies.




                                                                         City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1   For Debtor 2 or
                                                                                                                     non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.                $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                              3.   +            $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.                $0.00                     $0.00




Official Form 106I                                                       Schedule I: Your Income                                                              page 1
                                                   Case 24-15852                         Doc 1             Filed 07/11/24      Page 38 of 48

 Debtor 1                 Donna                        Johnson                         Williams
 Debtor 2                 Michael                      Kent                            Williams                                      Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔    4.              $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                        5a.             $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                         5b.             $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                         5c.             $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                         5d.             $0.00                    $0.00
       5e. Insurance                                                                                            5e.             $0.00                    $0.00
       5f. Domestic support obligations                                                                         5f.             $0.00                    $0.00
       5g. Union dues                                                                                           5g.             $0.00                    $0.00
       5h. Other deductions. Specify:                                                                           5h. +           $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                              6.              $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                      7.              $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                 8a.             $0.00                    $0.00
       8b. Interest and dividends                                                                               8b.             $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                8c.             $0.00                    $0.00
       8d. Unemployment compensation                                                                            8d.             $0.00                    $0.00
       8e. Social Security                                                                                      8e.             $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                            8f.             $0.00                    $0.00
       8g. Pension or retirement income                                                                         8g.             $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                       8h.   +         $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                    9.              $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                  10.             $0.00     +               $0.00         =             $0.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.                $0.00
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ❑ No.                     Debtor 1 receives monthly Social Security of $1,480.00. Debtor 2 receives monthly Social Security of
       ✔ Yes. Explain:
       ❑                         $2,499.40.

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                                         Case 24-15852                   Doc 1          Filed 07/11/24         Page 39 of 48

 Fill in this information to identify your case:

  Debtor 1                  Donna                   Johnson              Williams
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2                  Michael                 Kent                 Williams
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                            District of Maryland
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $734.04

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                   $192.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                     $74.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                     $50.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                                        Case 24-15852             Doc 1        Filed 07/11/24           Page 40 of 48

 Debtor 1            Donna                  Johnson              Williams
 Debtor 2            Michael                Kent                 Williams                                    Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $300.00
       6b. Water, sewer, garbage collection                                                                        6b.                 $100.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                 $481.00

       6d. Other. Specify:                                                                                         6d.                       $0.00
 7.    Food and housekeeping supplies                                                                              7.                  $900.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                   $25.00

 10. Personal care products and services                                                                           10.                  $55.00

 11.   Medical and dental expenses                                                                                 11.                 $300.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                  $35.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                  $30.00

 14. Charitable contributions and religious donations                                                              14.                  $40.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                $155.00
       15b. Health insurance                                                                                       15b.                $405.00
       15c. Vehicle insurance                                                                                      15c.                $240.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                             17a.                      $0.00
       17b. Car payments for Vehicle 2                                                                             17b.                      $0.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00


Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
                                      Case 24-15852             Doc 1        Filed 07/11/24          Page 41 of 48

 Debtor 1            Donna               Johnson               Williams
 Debtor 2            Michael             Kent                  Williams                                     Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify: See Additional Page                                                                          21.    +             $427.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $4,543.04

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $4,543.04


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                    $0.00

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –        $4,543.04
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.               ($4,543.04)



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
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 Debtor 1            Donna         Johnson        Williams
 Debtor 2            Michael       Kent           Williams                                Case number (if known)
                     First Name    Middle Name    Last Name




                                                                                                                   Amount


   21. Other
       Birdseed                                                                                                     $20.00
       Subscriptions                                                                                               $390.00
       Costco/Sam's, etc.                                                                                           $17.00




Official Form 106J                                        Schedule J: Your Expenses                                    page 4
                                                 Case 24-15852                       Doc 1            Filed 07/11/24                   Page 43 of 48

 Fill in this information to identify your case:

  Debtor 1                      Donna                       Johnson                  Williams
                               First Name                  Middle Name              Last Name

  Debtor 2                      Michael                     Kent                     Williams
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                        District of Maryland

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $196,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $12,458.21

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $208,458.21



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $42,257.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $0.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $65,247.15

                                                                                                                                                  Your total liabilities                  $107,504.15

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                        $0.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $4,543.04




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                                         Case 24-15852             Doc 1        Filed 07/11/24            Page 44 of 48

Debtor 1            Donna                 Johnson                Williams
Debtor 2            Michael               Kent                   Williams                                          Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     $0.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $0.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00


    9d. Student loans. (Copy line 6f.)                                                                                          $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                   $0.00


    9g. Total. Add lines 9a through 9f.                                                                                        $0.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                page 2 of 2
                                         Case 24-15852              Doc 1       Filed 07/11/24           Page 45 of 48

 Fill in this information to identify your case:

  Debtor 1                  Donna                  Johnson           Williams
                            First Name             Middle Name      Last Name

  Debtor 2                  Michael                Kent              Williams
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                        District of Maryland

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                         12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                             . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                       Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Donna Johnson Williams                                        ✘ /s/ Michael Kent Williams
        Donna Johnson Williams, Debtor 1                                   Michael Kent Williams, Debtor 2


        Date 07/11/2024                                                    Date 07/11/2024
                 MM/ DD/ YYYY                                                    MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MARYLAND
                                                           BALTIMORE DIVISION

IN RE: Williams, Donna Johnson                                                        CASE NO
       Williams, Michael Kent
                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     07/11/2024             Signature                          /s/ Donna Johnson Williams
                                                                     Donna Johnson Williams, Debtor


Date     07/11/2024             Signature                            /s/ Michael Kent Williams
                                                                   Michael Kent Williams, Joint Debtor
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                Amazon/Chase
                410 Terry Avenue N
                Seattle, WA 98109-0000




                American Express
                Post Office 981535
                El Paso, TX 79998




                BGE
                PO Box 1475
                Baltimore, MD 21203-0000




                CAPITAL ONE
                PO Box BOX 30285
                Salt Lake City, UT 84130-0285




                Capital One/Walmart
                PO Box 30285
                Salt Lake City, UT 84130




                Citibank Preferred Master
                Card
                PO Box 6204
                Sioux Falls, SD 57117-0000



                Costco
                PO Box 790046
                Saint Louis, MO 63179-0046




                Exxon-Mobil
                PO Box 7032
                Sioux Falls, SD 57117
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                Mayor And City Council Of
                Baltimore
                Bureau Of Revenue Collections
                200 Holliday St
                Baltimore, MD 21202-3618


                MedStar Health
                8013 Corporate Drive
                Nottingham, MD 21236




                MGC Mortgage, Inc.
                7195 Dallas Parkway
                Plano, TX 75024




                Synchrony Bank/Lowe's
                PO Box 965005
                Orlando, FL 32896-0000




                Synchrony Bank/Sam's Club
                PO Box 530942
                Atlanta, GA 30353-0000




                Truist Bank
                214 N. Tryon Street
                Charlotte, NC 28202-0000




                Upgrade
                2 N. Central Avenue Floor 10
                Phoenix, AZ 85004
